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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

 Judge Robert W. Schroeder III

 VIRNETX INC., et al                 §
                                     §
 V.                                  §     CIVIL NO. 6:12cv855
                                     §
 APPLE INC.                          §
 ______________________________________________________________________________
                      MINUTES FOR SEVENTH DAY OF TRIAL
                 HELD BEFORE JUDGE ROBERT W. SCHROEDER III
                                 APRIL 10, 2018

 OPEN: 8:43 am                                           ADJOURN: 5:16 pm
 ______________________________________________________________________________
 ATTORNEYS FOR PLAINTIFFS: See Attorney Sign In Sheet from April 2, 2018

 ATTORNEYS FOR DEFENDANT: See Attorney Sign In Sheet from April 2, 2018

 LAW CLERK:                          Aisha Haley

 COURTROOM DEPUTY:                   Betty Schroeder

 COURT REPORTER:               Kelly Polvi
 ______________________________________________________________________________
 ______________________________________________________________________________

 8:43 am       Outside the presence of the jury, Ms. Heffernan and Mr. Summer discuss the
               verdict form; Court responds; Court discusses jury instructions with Mr. Appleby,
               Mr. Caldwell, Ms. Heffernan, Mr. Summers, and Mr. Mizzo; Court discusses
               today’s schedule; Court discusses potential issues with rebuttal case; Mr. Caldwell
               and Mr. Arovas respond; Mr. Arovas and Mr. Curry discuss presenting JMOLs;
               Court responds

 9:21 am       Jury seated

 9:22 am       Mr. Ward continues with cross examination of Mr. Blakewell

 9:51 am       Ms. Heffernan begins re-direct examination of Mr. Blakewell

 10:03 am      Mr. Ward offers exhibit DTX 944.17 into the record; no objection; Mr. Ward
               begins re-cross examination of Mr. Blakewell
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 10:06 am   Ms. Heffernan marks exhibit as demonstrative; no objection

 10:06 am   Ms. Heffernan advises the Court that Apple rests its case

 10:07 am   Mr. Curry calls Dr. Mark Jones as a rebuttal witness

 10:08 am   Mr. Curry begins direct examination of Dr. Jones

 10:24 am   Bench conference

 10:27 am   Mr. Appleby begins cross examination of Dr. Jones

 10:32 am   Courtroom sealed

 10:38 am   Courtroom unsealed; Mr. Appleby and Mr. Curry mark demonstratives; no
            objections

 10:39 am   Mr. Curry begins re-direct examination of Dr. Jones

 10:41 am   Mr. Appleby begins re-cross examination of Dr. Jones

 10:42 am   Courtroom sealed

 10:43 am   Courtroom unsealed

 10:43 am   Mr. Cassady submits the final list of admitted exhibits; no objections

 10:44 am   Mr. Caldwell advises the Court that Plaintiff rests

 10:45 am   Mr. Aaron Resetarits submits the final list of admitted exhibits; no objections

 10:46 am   Mr. Arovas advises the Court that Defendant rests

 10:46 am   Court informs the jury of the day’s remaining schedule

 10:47 am   Jury out

 10:48 am   Mr. Summers argues a JMOL as to direct infringement; Mr. Akshay Deoras
            responds; Court will carry the motion; Mr. Summers argues a JMOL as to $1.20
            per unit in damages; Ms. Schmidt responds; Court will carry the motion

 11:05 am   Mr. Deoras argues a JMOL as to non-infringement; Mr. Summers responds; Court
            will carry the motion; Ms. Schmidt argues a JMOL as to damages; Mr. Summers
            responds; Court will carry the motion
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 11:18 am   Recess

 11:37 am   Outside the presence of the jury, Court inquires of the parties’ objections to the
            jury instructions; Mr. Mizzo informs the Court they will carry their objections
            forward; Mr. Summers advises the Court they have nothing further subject to last
            night’s objections; Court inquires of time split during closing

 11:39 am   Jury seated

 11:40 am   Court gives instructions

 12:25 pm   Mr. Caldwell begins closing statement

 12:51 pm   Mr. Ward continues with closing statement

 1:01 pm    Mr. Arovas begins closing statement

 1:09 pm    Objection by Mr. Caldwell; Court informs Mr. Caldwell this is closing argument

 1:47 pm    Mr. Caldwell completes his closing statement

 2:00 pm    Court instructs the jury

 2:02 pm    Jury out

 2:03 pm    Recess

 2:59 pm    Outside the presence of the jury, the Court and parties (Mr. Demarais, Mr.
            Cassady, Mr. Caldwell, Mr. Curry, and Mr. Summers) discuss filings regarding
            the willfullness phase; 15 minutes per side for opening

 3:38 pm    Recess

 4:56 pm    Jury has reached a verdict

 5:06 pm    Jury seated

 5:06 pm    Court asks the foreperson if the verdict is unanimous; it is; Court reviews the
            verdict

 5:08 pm    Verdict is read

 5:09 pm    Jury polled; all jurors stood

 5:09 pm    Bench conference
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 5:10 pm    Court thanks the jury for their service so far; informs them they will determine
            willfullness beginning tomorrow

 5:13 pm    Jury out

 5:14 pm    Outside the presence of the jury, Court instructs parties to meet and confer
            regarding the preliminary instructions; Mr. Caldwell responds; Court responds

 5:16 pm    Recess
